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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MISSOURI
                          SOUTHEASTERN DIVISION

GREGORY ALLEN PEET, SR.,                  )
                                          )
              Plaintiff,                  )
vs.                                       )       Case No. 1:25-cv-00053-SNLJ
                                          )
ROGER ALLAN STEWART, et al.,              )
                                          )
              Defendants.                 )

                            MEMORANDUM AND ORDER

       This matter is before the Court for case review. Plaintiff filed his Complaint on

March 24, 2025 (Doc. 1). Since that date, he has filed “Exhibits to Lawsuits” consisting

of 109 pages (Doc. 3) and 45 pages (Doc. 18). The filing of exhibits that are not attached

to the original complaint, an amended complaint, or a motion is not authorized by the

Federal Rules of Civil Procedure or this Court’s local rules. Further, the filing of exhibits

offered as evidence outside of a trial is not authorized by the rules. As such, Documents 3

and 18 will be stricken and deleted from the record.

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiff’s filings at Documents 3 and 18 are

STRICKEN from the record and the Clerk of Court shall delete Documents 3 and 18 from

the docket.

       SO ORDERED this 7th day of April, 2025.


                                          ____________________________________
                                          STEPHEN N. LIMBAUGH, JR.
                                          SENIOR UNITED STATES DISTRICT JUDGE
